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1                                                             The Honorable Richard A. Jones
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                          UNITED STATES DISTRICT COURT FOR THE
5
                            WESTERN DISTRICT OF WASHINGTON
6                                     AT SEATTLE
7      UNITED STATES OF AMERICA,                          NO. 2:23-cr-00179-RAJ
8                               Plaintiff,
                                                          ORDER
9                      v.
10
       CHANGPENG ZHAO,
11
                                Defendant.
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13
           THIS MATTER comes before the Court upon the United States’ Motion for
14
     Review of Magistrate Judge’s Ruling on Defendant’s Presentencing Travel Restrictions.
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     Dkt. 34. Having considered the briefing, and the files and pleadings herein, the Court
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     determines it will review the decision of Magistrate Judge Brian A. Tsuchida permitting
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     Defendant to return to the United Arab Emirates pending sentencing pursuant to the
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     conditions of his appearance bond.
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           IT IS ORDERED that the condition permitting Defendant to return to the UAE
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     pending sentencing is STAYED until such time as this Court resolves the Government’s
21
     motion for review.
22
23         DATED this 27th day of November, 2023.

24
25
                                                     A
                                                     The Honorable Richard A. Jones
26                                                   United States District Judge
27
      ORDER - 1
